                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                          CASE NO. 1:14-CV-954

 STUDENTS FOR FAIR
 ADMISSIONS, INC.,

                          Plaintiff,
                                                     JOINT STIPULATION OF
                      v.                             VOLUNTARY DISMISSAL


 UNIVERSITY OF NORTH
 CAROLINA et al.,

                          Defendants.


       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, it is

hereby stipulated and agreed upon between the parties and their respective counsel as

follows:

       1.     All claims pursuant to 42 U.S.C § 1981 (“Section 1981”) stated in Counts I,

II, and III of the Complaint are voluntarily dismissed, without prejudice, in their entirety

against all Defendants.

       2.     All remaining claims stated in Counts I, II, and III of the Complaint are

voluntarily dismissed, without prejudice, against defendants the University of North

Carolina Chapel Hill Board of Trustees, W. Lowry Caudill, Alston Gardner, Sallie

Shuping-Russell, Jefferson W. Brown, Phillip L. Clay, Haywood D. Cochrane, Donald

Williams Curtis, Charles G. Duckett, Peter T. Grauer, Kelly Matthews Hopkins, Steven

Lerner, Dwight D. Stone, and Andrew Henry Powell, as members of the Board of




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Trustees in their Official Capacity (collectively, the “UNC-Chapel Hill Board of Trustees

Defendants”).

       3.     The parties have agreed to the dismissal of the UNC-Chapel Hill Board of

Trustees Defendants on the basis of Defendants’ representation that the UNC-Chapel Hill

Board of Trustees Defendants do not play an active role in setting or implementing the

undergraduate admissions policy of the University of North Carolina-Chapel Hill. Should

discovery in the above-captioned action reveal facts to the contrary, the UNC-Chapel Hill

Board of Trustees Defendants represent that they will consent to being added as

defendants in this litigation. As part of this Joint Stipulation, the UNC-Chapel Hill Board

of Trustees Defendants also represent that they will abide by the terms of any final

judgment or order in the above-captioned litigation, subject to the usual rights of appeal,

entered against any of the remaining Defendants, including any final judgment or order

relating to the conduct of the University of North Carolina-Chapel Hill’s affairs,

including its undergraduate admissions policy.

       4.     All claims pursuant to 42 U.S.C § 1983 (“Section 1983”) stated in Counts I,

II, and III of the Complaint are voluntarily dismissed, without prejudice, against

defendants University of North Carolina, the University of North Carolina Board of

Governors, and the University of North Carolina-Chapel Hill.

       5.     All claims pursuant to 42 U.S.C § 2000d (“Title VI”) stated in Counts I, II,

and III of the Complaint are voluntarily dismissed, without prejudice, against individual

defendants John C. Fennebresque, W. Louis Bissette, Jr., Joan Templeton Perry, Roger



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Aiken, Hannah D. Gage, Ann B. Goodnight, H. Frank Frainger, Peter Hans,1 Thomas J.

Harrelson, Henry W. Hinton, James L. Holmes, Jr., Rodney E. Hood, W. Marty Kotis III,

G. Leroy Lail, Scott Lampe, Steven B. Long, Joan G. MacNeill, Mary Ann Maxwell, W.

Edwin McMahan, W.G. Champion Mitchell, Hari H. Math, Anna Spangler Nelson, Alex

Parker, R. Doyle Parrish, Therence O. Pickett, David M. Powers, Robert S. Rippy, Harry

Leo Smith, Jr., J. Craig Souza, George A. Sywassink, Richard F. Taylor, Raiford Trask

III, Phillip D. Walker, Laura I. Wiley, as members of Board of Governors in their Official

Capacity, President of the University of North Carolina Thomas W. Ross, Chancellor of

the University of North Carolina-Chapel Hill Carol L. Folt, Executive Vice Chancellor

and Provost of the University of North Carolina-Chapel Hill James W. Dean, Jr., and

Vice Provost, Enrollment and Undergraduate Admissions Stephen M. Farmer.

        6.       Defendants represent that they will Answer the Complaint within two

business days of the filing of this Stipulation of Dismissal.




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Peter Hans, who was named as a defendant in his official capacity in the Complaint, has resigned from the Board of
Governors and thus any successor will substitute automatically by operation of Fed. R. Civ. P. 25(d).




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Respectfully submitted this 20th day of March, 2015.

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Respectfully submitted this 20th day of March, 2015.

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